Case 2:04-cr-20497-BBD Document 27 Filed 04/25/05 Page10f2 Pagel

 

IN THE UN|TED STATES DlSTR|CT COURT n___ __ __ § v
FOR THE WESTERN DlSTR|CT OF TENNESSEE ‘J3 '~‘-»i'f"i 553 iii it '!
VVESTERN D|V|S|ON , __A

F:;i',itoi~:.;~i¥“ §:'i. 1.3£ " '_i_g

"”'r“\, J'z.

‘}"-}f'tf)`.` `or~' ‘r§~i, .=ii;-.ilauis

UN|TED STATES OF A|V|ER|CA
P|aintiff

VS.
CR. NO. 04-20497-[)

ANTONIO LEW|S

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDAB|_E DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a gm
date of Thursdav, June 30. 2005. at 9:00 a.m., in Courtroom 3, 9th Floor ofthe Federal
Building, l\/lemphis1 TN.

The period from lVlay 13, 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

iT is so oRDERED misale day of Aprii, 2005.

    

BE N|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in =_~.<_:.:ip..u-i-J~_~
mm noia s; ana/or 320;)) Fnch on ‘} ~,L'?'OB’ _W

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
ease 2:04-CR-20497 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

